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              EXHIBIT 1
    Redacted Version of
Document Sought to be Sealed
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 1

 2                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 3
                                      SAN FRANCISCO DIVISION
 4

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 6
     IN RE: FACEBOOK, INC. CONSUMER             Case No. 3:18-MD-02843-VC
 7   PRIVACY USER PROFILE LITIGATION,
 8
     This document relates to:                  SUPPLEMENTAL DECLARATION OF
 9                                              STEVEN WEISBROT OF ANGEION
                                                GROUP, LLC IN SUPPORT OF
     ALL ACTIONS
10                                              MOTION FOR FINAL APPROVAL OF
                                                CLASS ACTION SETTLEMENT
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                        SUPPLEMENTAL DECLARATION OF STEVEN WEISBROT
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 1   I, Steven Weisbrot, Esq., declare under penalty of perjury as follows:

 2   1.     I am the President and Chief Executive Officer at the class action notice and claims
 3   administration firm Angeion Group, LLC (“Angeion”). I am fully familiar with the facts attested to

 4   herein based upon my personal knowledge.

 5   2.     My credentials were previously reported to this Court in my initial declaration that was filed

 6   with Plaintiffs’ Notice of Motion and Motion to Certify a Settlement Class and Grant Preliminary

 7   Settlement Approval (Dkt. 1096-2) (the “Notice Plan Declaration”).

 8   3.     The purpose of this declaration is to provide the Parties and the Court with an update to my

 9   previous declaration (Dkt. 1145-2).

10                SETTLEMENT WEBSITE & TOLL-FREE TELEPHONE SUPPORT

11   4.     As of August 2, 2023, 2,089,706 visitors to the Settlement Website engaged with the chatbot.

12   5.     As of August 2, 2023, Angeion has received and answered 154,809 email inquiries. These

13   inquiries consist of various questions related to the Settlement.

14   6.     As of August 2, 2023, the Settlement Website has had 61,622,242 unique visitors1 and

15   95,200,798 page views.

16   7.     As of August 2, 2023, the toll-free line has received approximately 33,368 calls, totaling
17   157,565 minutes. 2,870 Class Members left a voicemail for the Settlement Administrator requesting a

18   copy of the Long Form Notice and/or Claim Form to be mailed to them. Accordingly, Angeion has

19   fulfilled these requests for Long Form Notices and/or Claim Forms.

20                                      CLAIMS ADMINISTRATION

21   Claim Form Submissions

22   8.     The deadline for Class Members to submit a claim is August 25, 2023. As of August 2, 2023,

23   Angeion has received a total of 19,027,181 Claim Form submissions (19,006,636 online submissions

24   and 20,545 submissions by mail).

25   9.     Angeion performed an additional preliminary review of the 17,371,380 online claims received

26   by July 27, 2023 and identified 1,156,787 claims as duplicative of another claim submitted. Of the
27
     1
       Google Analytics creates a unique ID, stored in a browser’s cookies, which is used to determine the
28   number of unique visitors to a website. Unique visitors represent how many of these unique IDs access
     the Settlement Website.
                                   DECLARATION OF STEVEN WEISBROT
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 1   16,214,593 unique online claims submitted, 14,732,834 claims were submitted for a current account,

 2   1,440,326 claims were submitted for a deleted account(s) and 41,433 claims were submitted for both

 3   a current and deleted accounts. Angeion was able to match 7,627,747 of the claims submitted for a

 4   current account to the Class List provided by Defendant, which contained a list of only current

 5   Facebook users.

 6   10.    Angeion performed a preliminary fraud analysis of the online claims submitted and identified

 7   3,131,829 claims as potentially fraudulent. Claims have been identified as potentially fraudulent based

 8   on the following criteria:

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19   11.    We have instructed Class Counsel to redact the information in the prior paragraph because it

20   discusses our anti-fraud efforts and, if disclosed, may undermine our ability to combat fraudulent

21   claims. Fraud detection is especially important as fraudulent claim submissions in certain types of

22   class action settlements are becoming increasingly prevalent4. Angeion’s thorough and comprehensive

23   review in identifying over 3.1 million potentially fraudulent claim submissions will help maintain the

24
     2
25     Angeion typically uses a threshold of 5-6 claims per IP Address as potentially fraudulent but due to
     the volume of claims filed, class size, and public availability of qualifying information in this matter,
26   Angeion has increased our threshold accordingly.
     3
       This analysis serves to catch potential fraudulent actors who use a VPN to cycle through different
27   IP addresses.
     4
       See https://www.law.com/newyorklawjournal/2023/07/26/the-increasing-danger-of-fraudulent-
28   claims-in-class-action-settlements/.


                              DECLARATION OF STEVEN WEISBROT
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 1   integrity of the Settlement Fund by ensuring only eligible Class Members are identified to receive

 2   payments, and is best practices consistent with industry standards. Moreover, as a percentage of

 3   submitted claims, the number of potentially fraudulent claims identified in this matter is consistent

 4   with other similar settlements.

 5   12.    Additionally, Angeion has worked with the Parties to implement measures to counteract efforts

 6   by bad actors who are attempting to exploit the settlement process in order to obtain personal

 7   information from Class Members. For example, the Settlement Website was updated to include an

 8   alert on the home page and an additional FAQ was added to inform Class Members of potential bad

 9   actor attempts to obtain personal information, see Exhibit A. Further, Angeion has provided

10   information to the Parties so that known bad actor Facebook accounts can be removed.

11   13.    After the deadline to submit a claim, Angeion will provide the Parties and the Court with a

12   subsequent declaration regarding the total number of valid claims.

13   Requests For Exclusion

14   14.    The deadline for Class Members to request exclusion from the Settlement was July 26, 2023.

15   As of August 2, 2023, Angeion has received 21,595 requests for exclusion. Angeion has performed a

16   deduplication of the exclusion requests received and has identified that 20,212 unique Class Members

17   have submitted an exclusion request.

18   15.    Angeion compared the list exclusion requests received to Claim Forms submitted and

19   determined that 3,942 Class Members have submitted both an exclusion request and a Claim Form.

20   Angeion will reach out to these 3,942 Class Members to determine if the Class Member’s intention

21   was to submit a Claim Form or to exclude themselves from the Settlement. Angeion will provide the

22   Parties and the Court with a report and subsequent declaration regarding the total number of valid

23   exclusion requests it received prior to the final hearing.

24

25          I hereby declare under penalty of perjury that the foregoing is true and correct.

26   Dated: August 4, 2023

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                              DECLARATION OF STEVEN WEISBROT
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                        Exhibit A
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In re: Facebook, Inc. Consumer Privacy User Profile Litigation
Case No. 3:18-md-02843-VC
United States District Court for the Northern District of California



- Submit Claim              Opt-Out     Important Documents         FAQs      Contact



           ALERT REGARDING REQUESTS FOR SENSITIVE P ERSONAL INFORMATION OR PAYMENT TO SUBMIT CLAIMS

                                              Please click here for more information.



  If you were a Facebook user in the United States between May 24, 2007,
 and December 22, 2022, inclusive, you may be eligible for a cash payment
                      from a Class Action Settlement.
                                             Para leer el aviso en espafiol, haga clic ar,m.
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ALERT REGARDING REQUESTS FOR SENSITIVE PERSONAL INFORMATION OR PAYMENT TO SUBMIT
CLAIMS
 29. ALERT REGARDING REQUESTS FOR SENSITIVE PERSONAL INFORMATION OR PAYMENT TO SUBMIT CLAIMS


 Angeion Group, LLC has been appointed as the sole Settlement Administrator by the Court.

  • The Settlement Administrator will not ask for your social security number as part of the claim submission or administration
    process. It will only ask for the information required by the Claim =orrn or otherwise approved by a Court order, with the
    exception of limited information it may request to validate claims it cannot verify.
  • The Settlement Administrator will not ask you to make any payment as part of the claim submission or administration process.
  • The Settlement Administrator will not provide an estimate of the amount of your claim. It will pay valid claims if (and only if): (1)
    the Court issues an order granting final settlement approval; and (2) appeals of that order are resolved or the time to appeal that
    order expires. At that point, the Settlement Administrator will make payment in the method you choose on your Claim Form.
  • The Settlement Administrator will not send you a text message and will not ask you to text them.

 Communications requesting or providing the information in the above bullets or contacting you by text messaging are not authorized
 by the Court and it is possible they are efforts to defraud. If you have any questions, please contact the Settlement Administrator by
 emailing info@FacebookUserPrivacySettlement.com calling 1-855-556-2233, or sending mail to Facebook Consumer Privacy User
 Profile Litigation, c/o Settlement Administrator, 1650 Arch Street, Suite 2210, Philadelphia, PA 19103.
